     Case 3:18-cr-00108-MCR      Document 186     Filed 10/31/19   Page 1 of 2


                                                                         Page 1 of 2


                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                          PENSACOLA DIVISION

UNITED STATES OF AMERICA

v.                                                      Case No. 3:18-cr-108MCR

DEWAYNE ANTHONY MARION
_____________________________/

                     REPORT AND RECOMMENDATION
                      CONCERNING PLEA OF GUILTY

      The Defendant, by consent, has appeared before me pursuant to Rule 11, Fed.

R. Crim. P., and has entered a plea of guilty to Counts ONE and THREE of the

Superseding Indictment. After cautioning and examining the Defendant under

oath concerning each of the subjects mentioned in Rule 11, I determined the guilty

plea was knowing and voluntary and the offense charged is supported by an

independent basis in fact containing each of the essential elements thereof. I

therefore recommend the plea of guilty be accepted and the Defendant be

adjudicated guilty and have sentence imposed accordingly.

Dated:      October 31, 2019.



                                /s/   Hope Thai Cannon
                                HOPE THAI CANNON
                                UNITED STATES MAGISTRATE JUDGE
3:18-cr-108MCR
     Case 3:18-cr-00108-MCR     Document 186    Filed 10/31/19   Page 2 of 2


                                                                       Page 2 of 2


                          NOTICE TO THE PARTIES


      Objections to these proposed findings and recommendations may be filed
within twenty-four (24) hours after being served a copy thereof. Any different
deadline that may appear on the electronic docket is for the court’s internal use
only, and does not control. A copy of objections shall be served upon the
magistrate judge and all other parties. A party failing to object to a magistrate
judge's   findings   or   recommendations      contained   in    a   report    and
recommendation in accordance with the provisions of 28 U.S.C. § 636(b)(1)
waives the right to challenge on appeal the district court's order based on
unobjected-to factual and legal conclusions. See U.S. Ct. of App. 11th Cir. Rule
3-1; 28 U.S.C. § 636.




3:18-cr-108MCR
